

Pape Ventures, Inc. v American Sports Media, L.L.C. (2022 NY Slip Op 04455)





Pape Ventures, Inc. v American Sports Media, L.L.C.


2022 NY Slip Op 04455


Decided on July 8, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 8, 2022
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., NEMOYER, CURRAN, WINSLOW, AND BANNISTER, JJ.


345 CA 21-00723

[*1]PAPE VENTURES, INC., A NEBRASKA CORPORATION, PLAINTIFF-APPELLANT,
vAMERICAN SPORTS MEDIA, L.L.C., A NEW YORK LIMITED LIABILITY COMPANY, SIMPLECIRC, L.L.C., A NEW YORK LIMITED LIABILITY COMPANY, AND DAVID K. AULTMAN, AN INDIVIDUAL, DEFENDANTS-RESPONDENTS. (APPEAL NO. 2.) 






SUGARMAN LAW FIRM, LLP, SYRACUSE (CORY J. SCHOONMAKER OF COUNSEL), FOR PLAINTIFF-APPELLANT.
BOND, SCHOENECK &amp; KING, PLLC, ROCHESTER (JEFFREY F. ALLEN OF COUNSEL), FOR DEFENDANTS-RESPONDENTS.


	Appeal from an order of the Supreme Court, Monroe County (Ann Marie Taddeo, J.), entered March 30, 2021. The order denied plaintiff's motion for leave to reargue its opposition to defendants' motion to partially dismiss plaintiff's complaint. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Empire Ins. Co. v Food City , 167 AD2d 983, 984 [4th Dept 1990]).
Entered: July 8, 2022
Ann Dillon Flynn
Clerk of the Court








